     CASE 0:20-cr-00076-PAM-KMM Document 25 Filed 06/03/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                        Criminal Case No. CR 20-76 (PAM/KMM)

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )             DEFENDANT'S MOTION FOR
       vs.                                  )             EXTENSION OF DEADLINES
                                            )
MUHAMMAD MASOOD,                            )
                                            )
                      Defendant.            )


       PLEASE TAKE NOTICE that Defendant Muhammad Masood, through

undersigned counsel, hereby moves the Court for an order extending the deadlines

currently set for June 8, 2020 for a period of one additional week. These deadlines

include the filing of pretrial motions or notification that no pretrial motions will be filed,

and informing the Court whether Mr. Masood will consent to video conference hearings.

Mr. Masood does not object if there are corresponding extensions to subsequent deadlines

and the motions hearing currently scheduled for June 30, 2020. The grounds for this

motion are that discussions about resolution of this case were initiated on May 13, 2020.

However, the government just provided a proposed plea agreement late yesterday

afternoon (June 2). Mr. Masood will probably not receive a copy until at least June 5.

There are complex legal issues associated with resolution and potentially grave

consequences. There are also complex considerations regarding whether to consent to

video conference hearings. Undersigned counsel does not believe that the June 8

deadlines will provide adequate time for him to fully discuss all of these complex issues
     CASE 0:20-cr-00076-PAM-KMM Document 25 Filed 06/03/20 Page 2 of 2




with Mr. Masood and for Mr. Masood to make an informed decision about how to move

forward.

      The prosecution has informed undersigned counsel that it has no objection to this

proposed extension.1


Dated: June 3, 2020                            LAW OFFICE OF JORDAN S. KUSHNER

                                                   By s/Jordan S. Kushner
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                                                     Attorney for Defendant
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      1
         It does not appear that the requested extension is long enough to necessitate a
waiver of speedy trial rights.
                                           2
